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                                          UNITED STATES DISTRICT COURT
                                             DISTRICT OF NEW MEXICO

                                    Before the Honorable GREGORY B. WORMUTH
                                     CRIMINAL CLERK’S MINUTES at Las Cruces
                                                                        Recording
Case Number:        19-1042 MJ                 Date:    4/22/19                           LCR TORTUGAS
                                                                        Information:
                    REBECCA
Clerk:                                         Type of Hearing:         INITIAL APPEARANCE
                    HELMICK

Defendant(s):                                           Attorney(s):                                     Appt’d.   Ret’d.
LARRY MITCHELL HOPKINS                                  FPD STANDING IN – DANIEL RUBIN                     ☒          ☐
                                                                                                           ☐          ☐
                                                                                                           ☐          ☐
                                                                                                           ☐          ☐
Assistant
U.S. Attorney:
                      GEORGE KRAEHE                     Interpreter:   N/A
                                                        Court in
Pretrial Officer:     GEORGE HERRERA                                   10:34-10:38; 10:48-10:51 A.M. 3 MIN
                                                        Session:


☐        Agent sworn in open Court

☒        Court questions Defendant regarding his/her physical and mental condition, age, education

☒        Court advises Defendant(s) of possible penalties and all constitutional rights

☒        ORAL Motion for Detention Hearing by Government

☒        Court grants ☒ Government’s ☐ Defense counsel’s oral motion to continue detention hearing

☐        Waiver of preliminary hearing & right to grand jury presentment filed in open court

☐        Defendant admitted violation; Matter referred to the District Judge For a Disposition Hearing

☒        Set for arraignment/detention on 4/29/2019 at 9:30 A.M.; Rio Grande Courtroom before Judge Molzen


☒        Defendant in custody

☐        Conditions of Release continued on Page 2


         Other: PRETRIAL SERVICES TO INTERVIEW DEFENDANT; DEFENDANT HAS RETAINED
 ☒       COUNSEL; ENTRY OF APPEARANCE TO BE FILED; MATTER TO BE TRANSFERRED TO ALBQ.,
         DEFENDANT REMANDED PENDING HEARING
